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  GREGORY A.BROW ER
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  JAM ES E.KELLER                                                                                   !
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  UNITED STATES OF AM ERICA                       )
                                                  ) No.3:08-CR-00128-ECR-RAM
                Blaintiff,                        )
                                                  )
   vs.                                            ) ISX PARTE M OTION AND
                                                  ) ORDER TO PRESERVE EVIDENCE
  CRISPIN PACHECO and                             )
  GUSTAVO RENTERIA-SEGURA,                        )
            a/k/a 'Tavo ''                        )
                                                  )
                Defendants.                       )
                                                  )
                COM ES N OW the United States of Am erica, by and through GREGORY A.
  BROW ER,United StatesAttorney,and JamesE.K eller,AssistantUnited StatesA ttorney,mld t'
                                                                                        iles
  this ex parte m otjon on behalfofthe United States to requestthis Courtto orderthe United States
  Drug Enforcem entAdm inistration to preserve evidence seized in the above-entitled m atter. n is
  requestis m ade due to the Drug Enforcem cntA dm inistration'snotice thatthey intend to destroy
  narcoticsorcontrolled substances in the above-entîtled m atter.Sce Attachm entA.
                DefendantPachcco is setfor trialon January 12,2010,but has notinspected the
  methamphetamine (orotherphysicalevidencc)lhrough counselin this case to date. Defendant
   Renteria-segura is presently a fugitive. llow ever,when apprehended,his counselhas a rightto
   inspeetthe sarne in anticipation oftrial. Thus,any destruction ofevidence -- including,wilhout
   lim itation,D EA 'Sdcstructionofany am ountofcontrolled substancesinthiscase--would ham perany
   prosecution effol-ts,thusnecessitating thisrequestforan Orderof1he Court.
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               '
               rherefore,itisrequested thata11evidence seized in theabtlve-entitled m atterbestored
  and keptâeeofdestruction untilrcquestedbytheU .S.Attorney'sOfticeorfurtherOrderofthisCourt.
                     DATED this 29th       day of September,2009.


                                                Respectfully subm itted,
                                                GREGORY A.BROW ER
                                                United StatesAttorney


                                                  M ES E K LER
                                                 ssistantUnited States Attorncy



  IT IS SO ORD ERED .


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  L1'
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              1'A'1'ES DISTRICT JUDGE
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     *       .'z:                                 U.S.D eparttnentofJustice
               j                                  Drug BnforcementAdm inislraion
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                                                  LosAngeleapCalifornia90912
                                                  (213)621-6700


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    (:c:JamesE.Keller,AUSA
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        ScottOultoazDEA Southwestlmboralory
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